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                 EXHIBIT A
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Witness       Declarant                          Statement                      Citation
Wu          Assistant to    Describing and admitting certain documents – 2404-2413,
            Zhang,          including screenshots of chats among Sara Wei, 2426:21-24
            Yongbing;       William Je, and Miles Guo – shared with the
            Je, William;    Mountain of Spices Farm’s group chat by Yonbing
            Wei, Sara       Zhang’s assistant for purposes of a lawsuit against
                            Sara Wei related to the Farm loan program.

Zhou        Dai, David      The Freedom Media Venture, that company was a 246:10-17
                            new company created for the GTV, so was
                            announced that for those people who are in the
                            restricted countries, then the will able to sign a
                            contract and also offer—there was also fee will be
                            charged was announced to us

Brown       Fallon, David   Fallon, who worked for William Je, told Brown that 3682:6-23
                            the HEX was using Hummingbot

Khaled      Guo, Mileson    General discussion re: Crane money, transfers 2051:15-
                            Mileson referred to people sending money to Crane 2053; 2053:13
                            as “investors”

Khaled      Guo, Mileson    Discussion of moving Crane money out of US           2069:8-15

Collins     H., Alex        “He referenced a group that he called the 2765:20-21
                            management, needed to come to a decision on it and
                            that he would represent.”

Collins     Je, William     “The loan was being made to an escrow account 2789:1-7
                            related to the bankruptcy of Mr. Guo as security for
                            a substantial piece of collateral that they had moved
                            from the United States to the Mediterranean, being a
                            large yacht, and the loan was to satisfy the court's
                            demand in time because they didn't have time to
                            steam the yacht back to America, and it was a short-
                            term loan to facilitate Mr. Guo's freedom.”

Collins     Je, William     “I was told that if the loan wasn't facilitated right 2789:9-10
                            away, that he would be imprisoned”

Brown       Je, William     Je stated that he and Guo “spoke frequently.”          3641:18-24
Collins     Je, William,    “William and Priya reached out to them, I think they 2798:3-5
            Patel, Priya    had a phone call, and it was then that it was revealed
                            that the wire had been seized”



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 Witness      Declarant                           Statement                        Citation
Khaled      Je, William;      Discussion of disposition of G|Clubs funds held by 2056:20-
            Guo, Mileson      Crane                                              2057:8

Khaled      Je, William;      Discussion re: Crane money, transfers                2050:8-22
            L.I. David
Buck        Lawall, Dara      “She [Lawall] reached out to refer this particular 3876:13-17
                              matter to me. She told me the clients were like family
                              to her and they were very important to them. And she
                              also wanted to inquire about my ability to do a
                              accelerated transaction. It was a quick cash
                              transaction.”

Buck        Mitchell,         Statements on behalf of the Guo family and Taurus
            Aaron;            Fund made in emails to Ms. Buck, relating to 3908:17-18;
            Barnett, Scott;   purchases and renovations for “the client” and “the 3909:6-9;
            Chow, Gladys;     Principal”                                          3914:11-12;
            Jing, Sean;                                                           3922:24
            Musial, Ilona


Brown       LNU, Kevin        “Q: How did you learn that Miles Guo had placed 3705:3-14
                              Kevin at the Exchange?
                              A: Kevin told me.”

Reyes       Krasner, Max      “The car dealer will work with us to get the car 3078:16-17
                              shipped from Dallas to CT”

Li          L.I. David        “It is discussion with the Brother Long Island Chang 1381:18-23
                              Dao about who sign this loan agreement. Brother
                              Chang Dao said before we prepare to sign with
                              ACA, but William Je refuse to sign, so we have to
                              find another company to sign. We're waiting --
                              waiting for instruction another company to sign.
                              Because I ask why take so long to get the
                              agreement.”
Li          L.I. David        “Oh. We have a discussion with Brother Island 1387:24-25
                              Chang Dao. He said that Mountain Spices farm
                              received the interest”

Khaled      Wang, Yvette      "She said she works for the big boss principal.”     1918 : 6

Khaled      Wang, Yvette      Prior to Khaled video call with Guo, Yvette had told 1920 : 22
                              Khaled “That he’s the boss.”



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 Witness    Declarant                         Statement                        Citation
Khaled     Wang, Yvette   told Khaled that William Je is “a banker, has an 1962:5
                          investment company in UK, has a large team,
                          successful, and he’s a close associate to the family
                          and the mission.”

Reyes      Wang, Yvette   "That he [Victor] might be reaching out . . . [for an] 2986:21-23
                          interview"

Maistrello Wang, Yvette   Told Maistrello that “the final purpose [of moving 473:22-24
                          funds from Saraca and Golden Spring’s accounts
                          during the ROL fundraiser] was to have these big
                          amounts of money shown on screen so that people
                          would see that others were donating, and we were
                          able to solicit more money this way.”

Maistrello Wang, Yvette   “I was asked by Yvette to draft a letter to accompany 480:24-
                          those masks. The letter should have read something 481:17
                          along the lines of: This is a gift from Miles Kwok. . .
                          Q. And what, if anything, did Yvette say when you
                          said you wouldn't write a letter that said those masks
                          came from Miles Guo? A. She told me that I was
                          being paid to execute orders and not to think.”




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